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                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS

United States of America,

                    Plaintiff,

v.                                                           Case No. 07-20168-20-JWL


Latysha D. Temple,

                    Defendant.

                                 MEMORANDUM & ORDER

      This matter is before the court on Ms. Temple’s pro se motion for reduction of sentence

pursuant to 18 U.S.C. § 3582(c)(2) in which Ms. Temple asks the court to reduce her sentence

based on Amendment 782 to the United States Sentencing Guidelines which took effect on

November 1, 2014 and lowers the base offense levels in the Drug Quantity Table. On July 18,

2014, the United States Sentencing Commission voted to apply the amendment retroactively to

those offenders currently in prison, but with a requirement that the reduced sentences cannot

take effect until November 1, 2015.

      The Honorable J. Thomas Marten of the District of Kansas recently appointed the Office

of the Federal Public Defender to represent any defendant previously determined to have been

entitled to appointment of counsel, or who is now indigent, to determine whether that defendant

may qualify for relief under Amendment 782. The record reflects that Ms. Temple may be

entitled to have the Federal Public Defender represent her to determine in the first instance

whether Ms. Temple qualifies for relief under the amendment. In light of these circumstances,

the court believes that the most efficient way to resolve the issue raised by Ms. Temple is to
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forward Ms. Temple’s motion (along with a copy of this order) to the Office of the Federal

Public Defender for an initial determination of whether Ms. Temple qualifies for representation

and is entitled to a reduction in her sentence in light of the amendment. In the meantime, the

court will deny Ms. Temple’s motion without prejudice to refiling the motion on or after

February 2, 2015 if the Office of the Public Defender declines to seek relief for Ms. Temple

under Amendment 782.



       IT IS THEREFORE ORDERED BY THE COURT THAT Ms. Temple’s motion for

reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) (doc. 1663) is denied without prejudice

to refiling on or after February 2, 2015.



       IT IS FURTHER ORDERED BY THE COURT THAT the Clerk of the Court shall

forward to the Office of the Federal Public Defender a copy of this order along with a copy of

Ms. Temple’s pro se motion for reduction of sentence.



       IT IS SO ORDERED.



       Dated this 29th day of December, 2014, at Kansas City, Kansas.



                                                s/ John W. Lungstrum
                                                John W. Lungstrum
                                                United States District Judge



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